                     Case 17-12481-KBO             Doc 816       Filed 03/05/20        Page 1 of 22




                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

                                                        )
In re:                                                  )   Chapter 11
                                                        )
MAURICE SPORTING GOODS OF                               )   Case No. 17-12481 (KBO)
DELAWARE, INC., et al.,1                                )
                                                        )   Jointly Administered
                              Debtors.                  )
                                                        )   Hearing Date: April 23, 2020 at 10:00 a.m. (ET)
                                                        )   Objection Deadline: March 19, 2020 at 4:00 p.m. (ET)


                JOINT MOTION FOR ENTRY OF (I) AN ORDER (A) CONDITIONALLY
                           APPROVING DISMISSAL AND ESTABLISHING
               PROCEDURES FOR DISMISSAL OF THE DEBTORS’ CHAPTER 11 CASES
                   AND (B) APPROVING THE FORM OF NOTICE THEREOF; AND
                  (II) INITIAL AND FINAL ORDERS DISMISSING THE DEBTORS’
                      CHAPTER 11 CASES AND GRANTING RELATED RELIEF

                The above-captioned debtors and debtors-in-possession (the “Debtors”) and the Official

  Committee of Unsecured Creditors of the Debtors (the “Committee,” and collectively with the

  Debtors, the “Movants”), by and through their undersigned counsel, hereby submit this motion

  (the “Motion”) for the entry of: (I) an order, substantially in the form attached hereto as Exhibit

  A (the “Procedures Order”), (A) conditionally approving dismissal and establishing procedures

  for dismissal of the Debtors’ chapter 11 cases and (B) approving the form of notice thereof; and

  (II) initial and final orders, substantially in the forms attached hereto as Exhibit B (the “Initial

  Order”) and Exhibit C (the “Final Dismissal Order” and together with the Procedures Order

  and the Initial Order, the “Proposed Dismissal Orders”), pursuant to sections 105(a), 305, 349,

  363(b)(1), 554(a), and 1112(b) of title 11 of the United States Code (the “Bankruptcy Code”),

  rules 1017, 2002, and 6007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

   1
                The Debtors and the last four digits of their respective federal taxpayer identification numbers are as
                follows: Maurice Sporting Goods of Delaware, Inc. (3399); OLDCO DOC, Inc. (f/k/a Danielson Outdoors
                Company, Inc.) (0840); South Bend Sporting Goods, Inc. (6658); Triple Crown Holdings, Inc. (1847); and
                OLDCO MA, Inc. (f/k/a Matzuo America, Inc.) (4950). The mailing address for the Debtors is c/o
                Development Specialists, Inc., 10 S. LaSalle Street, Suite 3300, Chicago, Illinois 60603.


  36191342.9
                    Case 17-12481-KBO        Doc 816      Filed 03/05/20    Page 2 of 22




Rules”) and rule 1017-2 of the Local Rules of Bankruptcy Practice and Procedure of the United

States Bankruptcy Court for the District of Delaware (the “Local Rules”), (A) dismissing the

Debtors’ chapter 11 cases; and (B) granting related relief, including, without limitation, (i)

authorizing, but not directing, the Debtors to abandon and destroy any and all of the books and

records currently maintained by the Debtors (the “Books and Records”); (ii) providing for

limited exculpation for the Debtors, the Committee, and their respective professionals; (iii)

authorizing the Debtors to take steps to effect a dissolution as set forth in the Final Dismissal

Order; (iv) approving procedures for filing and approving final fee applications and providing for

payment of approved professional and U.S. Trustee (as defined below) fees; and (v) approving

the procedures for distribution of the GUC Carve-Out (as defined below). In support of the

Motion, the Movants respectfully represent as follows:

                                              JURISDICTION

             1.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334, and the Amended Standing Order of Reference from the United States District Court for

the District of Delaware, dated as of February 29, 2012. This is a core proceeding pursuant to 28

U.S.C. § 157(b) and the Court may enter a final order consistent with Article III of the United

States Constitution. Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

             2.      The statutory and legal predicates for the relief sought herein are sections 105(a),

305, 349, 363(b)(1), 554(a), and 1112(b) of the Bankruptcy Code, Bankruptcy Rules 1017, 2002,

and 6007, and Local Rule 1017-2.

                                       GENERAL BACKGROUND

             3.      On November 20, 2017 (the “Petition Date”), each of the Debtors filed a

voluntary petition for relief under chapter 11 of the Bankruptcy Code with the United States




36191342.9 3/5/20                                     2
                    Case 17-12481-KBO       Doc 816      Filed 03/05/20   Page 3 of 22




Bankruptcy Court for the District of Delaware (the “Court”), commencing the above-captioned

chapter 11 cases (the “Chapter 11 Cases”). The Debtors continue to operate their businesses

and manage their properties as debtors in possession pursuant to sections 1107(a) and 1108 of

the Bankruptcy Code.

             4.      On November 21, 2017, the Court entered an order [Docket No. 24] authorizing

the joint administration and procedural consolidation of these Chapter 11 Cases pursuant to

Bankruptcy Rule 1015(b).

             5.      On November 28, 2017, the United States Trustee for the District of Delaware

(the “U.S. Trustee”) appointed the Committee pursuant to section 1102 of the Bankruptcy Code

[Docket No. 52]. No request for the appointment of a trustee or examiner has been made in these

Chapter 11 Cases.

             6.      Additional information about the Debtors’ business and the events leading to the

commencement of these Chapter 11 Cases can be found in the Declaration of Patrick J.

O’Malley in Support of Debtors’ Chapter 11 Petitions and First-Day Motions [Docket No. 2],

which is incorporated herein by reference.

                                      SPECIFIC BACKGROUND

A.           The Sale of Substantially All of the Debtors’ Assets

             7.      On November 21, 2017, the Debtors filed a motion [Docket No. 39], pursuant to

which the Debtors sought authority to sell substantially all of their operating assets (the “Going

Concern Sale”) to the stalking horse bidder, an affiliate of Middleton Management Company,

Inc. (the “Going Concern Purchaser”). On December 12, 2017, the Court entered an order

approving bidding procedures and scheduling a hearing to consider approval of the Going

Concern Sale for December 28, 2017 [Docket No. 125]. On December 28, 2017, the Court




36191342.9 3/5/20                                    3
                    Case 17-12481-KBO      Doc 816      Filed 03/05/20   Page 4 of 22




entered an order [Docket No. 227] (the “Going Concern Sale Order”) approving the Going

Concern Sale to the Going Concern Purchaser pursuant to an Asset Purchase Agreement, dated

as of December 7, 2017 (the “APA”), and approving and authorizing the Debtors to enter into

that certain Transition Services Agreement with the Going Concern Purchaser (the “Transition

Services Agreement”).

             8.      On December 29, 2017, the Debtors closed the Going Concern Sale (the “Sale

Closing”). Upon the Sale Closing, the Transition Services Agreement took effect and the Going

Concern Purchaser began facilitating the sale of the Debtors’ remaining inventory in accordance

with the APA and the Going Concern Sale Order, which process has now concluded. The

Movants have since worked to wind down the Debtors’ estates, including by reconciling claims

against the estates and formulating an efficient exit from bankruptcy.

B.           Committee Settlement and Final Administration of the Debtors’ Estates

             9.      On December 13, 2017, the Committee filed the Motion of the Official Committee

of Unsecured Creditors, Pursuant to Section 105(a) of the Bankruptcy Code and Rule 9019 of

the Federal Rules of Bankruptcy Procedure, for Entry of an Order Approving Stipulation

between Official Committee of Unsecured Creditors and Debtors’ Secured Lenders [Docket No.

129] (the “Settlement Motion”). On December 28, 2017, the Court entered an order approving

the Settlement Motion and the Stipulation between Official Committee of Unsecured Creditors

and Debtors’ Secured Lenders [Docket No 228] (the “Stipulation”).

             10.     The Stipulation provides for the payment of $1,000,000.00 (the “GUC

Carve-Out”) from the Debtors’ secured lender, BMO Harris Bank, N.A. (“BMO”), as lender

and agent for the Debtors’ pre- and post-petition secured lenders, for the benefit of unsecured

creditors in exchange for, among other things, the withdrawal of the Committee’s objection to




36191342.9 3/5/20                                   4
                    Case 17-12481-KBO       Doc 816      Filed 03/05/20   Page 5 of 22




the Going Concern Sale, which allowed the sale to move forward. Stipulation, ¶ 4. The

Stipulation specifically excludes insiders of the Debtors from receiving any distributions with

respect to the GUC Carve-Out. Id. Further, BMO agreed to waive any deficiency claim with

respect to the GUC Carve-Out. Id. ¶ 5.

             11.     Given that unsecured creditors (the Committee’s constituents) are the remaining

beneficiaries of the wind-down of the estates, the Debtors and the Committee have agreed that

the Committee will participate in finalizing the wind-down of the Debtors’ Chapter 11 Cases.

C.           The Claims Process

             12.     On January 8, 2018, the Court entered the Order, Pursuant to Sections 501 and

502 of the Bankruptcy Code, Bankruptcy Rule 2002 and 3003(c)(3), and Local Rule 2002-1, (I)

Establishing Bar Dates for Filing Proofs of Claim and Approving Form and (II) Approving the

Form and Manner of Notice Thereof [Docket No. 243], setting February 9, 2018 as the claims

bar date for all non-governmental claims that arose prior to the Petition Date (the “Claims Bar

Date”).

             13.     On February 25, 2019, the Court entered the Order (I) Fixing Deadline for Filing

Requests for Allowance of Administrative Expense Claims and (II) Designating Form and

Manner of Notice Thereof [Docket No. 582], setting April 3, 2019 as the deadline to file

administrative expense claims that arose during the period from the Petition Date through and

including February 27, 2019. Thus, all parties that are entitled to file a proof of claim in these

cases have had the ability to do so.

             14.     In order to wind-down the Debtors’ estates, the Movants reviewed and reconciled

all claims that were filed asserting either administrative or priority treatment. On October 11,

2019, the Committee filed The Official Committee of Unsecured Creditors’ First Omnibus




36191342.9 3/5/20                                    5
                    Case 17-12481-KBO       Doc 816      Filed 03/05/20   Page 6 of 22




(Non-Substantive) Objection to Claims (Incorrectly Classified, Insufficient Documentation,

Duplicative, and Amended and Superseded Claims) [Docket No. 726] (the “First Claim

Objection”) and The Official Committee of Unsecured Creditors’ Second Omnibus

(Non-Substantive) Objection to Claims (Late-Filed Claims) [Docket No. 727] (the “Second

Claim Objection”). On December 31, 2019, the Committee filed the Official Committee of

Unsecured Creditors’ Third Omnibus (Non-Substantive) Objection to Claims (Improperly

Classified, No Liability, Duplicative, and Amended and Superseded Claims) [Docket No. 781]

(the “Third Claim Objection”). On November 12, 2019, the Court entered an order granting

the Second Claim Objection [Docket No. 752]. On January 2, 2020, the Court entered an order

granting the First Claim Objection [Docket No. 782], as to certain claims. On January 28, 2020,

the Court entered an order granting the Third Claim Objection [Docket No. 796].

Contemporaneously herewith, the Committee is filing a fourth omnibus claims objection, to

address certain remaining non-substantive claim objections.

             15.     On September 13, 2019, the Committee filed the Motion for Order Authorizing

Payment of Allowed Administrative and Priority Unsecured Claims [Docket No. 704]. On

October 16, 2019, the Court entered the Order Authorizing Payment of Allowed Administrative

and Priority Unsecured Claims [Docket No. 732] (the “Payment Order”). Pursuant to the

Payment Order, the Debtors have paid all undisputed or resolved administrative and priority

claims, other than professional fees and current quarterly fees payable to the U.S. Trustee.

             16.     The only outstanding administrative or priority claims include professional fees

and future U.S. Trustee quarterly fees. All administrative and priority claims have been or will

be paid in full.




36191342.9 3/5/20                                    6
                    Case 17-12481-KBO          Doc 816       Filed 03/05/20      Page 7 of 22




D.           The Dismissal of the Debtors’ Cases

             17.     The Movants have analyzed the most pragmatic and efficient way to conclude the

Chapter 11 Cases. After careful consideration of other alternatives, given the completion of the

Going Concern Sale and the lack of any remaining assets to monetize for the benefit of

unsecured creditors, the Debtors and the Committee have decided that dismissal is the most

effective way to proceed.

             18.     Reorganization of the Debtors in these cases is impracticable, if not impossible,

given the Debtors’ lack of assets, other than the GUC Carve-Out.2 Accordingly, drafting and

pursuing confirmation of a plan of reorganization is not feasible.

             19.     Similarly, confirmation of a liquidating plan will be time-consuming,

prohibitively expensive, and will substantially increase administrative costs. The burdens of

such a process far outweigh the benefits when the only substantive task remaining is distribution

of the GUC Carve-Out.

             20.     Finally, conversion of these cases to chapter 7 will merely add another layer of

administrative expenses to the Debtors’ estates without any benefit to unsecured creditors,

potentially resulting in an administratively insolvent estate.

             21.     Without funding for either a liquidating plan or chapter 7 administrative fees,

such costs could only be addressed by looking to the GUC Carve-Out, which would severely

impair any distribution to unsecured creditors in these cases, if not eliminate it entirely.

             22.     In seeking approval of the dismissal of the Chapter 11 Cases pursuant to the

Proposed Orders, the Debtors are mindful of the Supreme Court’s decision in Czyzewski v. Jevic

Holding Corp., 137 S.Ct. 973, 978 (2017) and the propriety of “structured” dismissals. The

2
             The Debtors also anticipate recovery of a federal tax refund of approximately four hundred thousand
             dollars ($400,000), which funds are subject to BMO’s postpetition secured claim.



36191342.9 3/5/20                                        7
                    Case 17-12481-KBO      Doc 816      Filed 03/05/20   Page 8 of 22




Movants submit that the distributions in the Proposed Orders comply with sections 507(a) and

726 of the Bankruptcy Code.

             23.     Accordingly, based on these circumstances, the Committee and the Debtors

concluded, in their business judgment, that dismissal makes the most practical and economic

sense.

                                        RELIEF REQUESTED

             24.     By this Motion, the Movants request entry of the Procedures Order immediately,

(a) conditionally approving dismissal of the Chapter 11 Cases, subject to completion of the

procedures proposed herein, (b) approving the form of notice (the “Notice”) attached as

Exhibit 1 to the Procedures Order, and (c) setting a further hearing date, if needed, to resolve any

objections by creditors to the proposed distribution of the GUC Carve-Out.

             25.     Upon entry of the Procedures Order, the Movants propose to serve the Notice

upon all creditors of the Debtors, including insiders, thereby providing notice of the deadline by

which creditors may object to the proposed distribution of the GUC Carve-Out and the balance

of the relief sought in the Motion.        If no objections are timely filed, the Movants may file a

certification of no objection or certification of counsel, as applicable, requesting entry of the

Initial Order. Following entry of the Initial Order, the Court may enter the Final Dismissal Order

upon the filing of the Certification (defined below).             The Proposed Dismissal Orders

collectively: (A) dismiss the Debtors’ Chapter 11 cases and (B) grant related relief, including,

without limitation, (i) authorizing the Debtors to abandon and destroy any and all of the books

and records currently maintained by the Debtors; (ii) providing for limited exculpation for the

Debtors, the Committee, and their respective professionals; (iii) authorizing the Debtors to take

steps to effect a dissolution as set forth in the Final Dismissal Order; (iv) approving procedures




36191342.9 3/5/20                                   8
                    Case 17-12481-KBO       Doc 816      Filed 03/05/20   Page 9 of 22




for filing and approving final fee applications and providing for payment of approved

professional and U.S. Trustee fees; and (v) approving the proposed distribution of the GUC

Carve-Out and procedures related thereto.

             26.     The Movants submit that there is ample authority under the Bankruptcy Code and

case law to grant the Motion and that the requested relief is justified and warranted under the

circumstances of these Chapter 11 Cases.

                                          BASIS FOR RELIEF

A.           Dismissal Is Appropriate under Section 1112(b) of the Bankruptcy Code

             27.     Pursuant to section 1112(b) of the Bankruptcy Code, a court “shall convert a case

under this chapter to a case under chapter 7 or dismiss a case under this chapter, whichever is in

the best interests of creditors and the estate, if the movant establishes cause.” 11 U.S.C. §

1112(b); Czyzewski v. Jevic Holding Corp., 137 S.Ct. 973, 978 (2017) (recognizing that a

bankruptcy court may dismiss a Chapter 11 case under 11 U.S.C. § 1112(b)); In re Albany

Partners, Ltd., 749 F.2d 670, 674 (11th Cir. 1984); In re Blunt, 236 B.R. 861, 864 (Bankr. M.D.

Fla. 1999).          The Bankruptcy Abuse Prevention and Consumer Protection Act of 2005

(“BAPCPA”) changed the statutory language with respect to conversion and dismissal from

permissive to mandatory. See H.R. Rep. No. 109-31(I), at 94, 2005 U.S.C.C.A.N. 88, 159

(stating that the Act “mandate[s] that the court convert or dismiss a chapter 11 case, whichever is

in the best interests of creditors and the estate, if the movant establishes cause, absent unusual

circumstances”); see also In re Gateway Access Solutions, Inc., 374 B.R. 556 (Bankr. M.D. Pa.

2007) (stating that the amendments to section 1112 limit the court’s discretion to refuse to

dismiss or convert a chapter 11 upon a finding of cause); accord In re TCR of Denver, LLC, 338

B.R. 494, 498 (Bankr. D. Colo. 2006) (“Congress has purposefully limited the role of this Court




36191342.9 3/5/20                                    9
                    Case 17-12481-KBO     Doc 816      Filed 03/05/20   Page 10 of 22




in deciding issues of conversion or dismissal such that this Court has no choice, and no

discretion in that it ‘shall’ dismiss or convert a case under Chapter 11 if the elements for ‘cause’

are shown under 11 U.S.C. § 1112(b)(4).”).

             28.     The amendments to section 1112 of the Bankruptcy Code limit the Court’s

discretion to refuse to dismiss or convert a chapter 11 case upon a finding of cause. In re 3 Ram,

Inc., 343 B.R. 113, 119 (Bankr. E.D. Pa. 2006) (“Under new § 1112 when cause is found, the

court shall dismiss or convert unless special circumstances exist that establish that the requested

conversion or dismissal is not in the interests of creditors and the estate.”); see also In re Broad

Creek Edgewater, LP, 371 B.R. 752, 759 (Bankr. D.S.C. 2007).

             29.     A determination of cause is made by the court on a case-by-case basis. In re

Albany Partners, 749 F.2d at 674.           Section 1112(b) of the Bankruptcy Code provides a

non-exhaustive list of sixteen factors that may amount to “cause” for dismissal. See 11 U.S.C. §

1112(b)(4); Frieouf v. U.S., 938 F.2d 1099, 1102 (10th Cir. 1991) (stating that section 1112(b) of

the Bankruptcy Code’s list is non-exhaustive). One statutory basis to dismiss a case is where a

party in interest shows that (a) there has been a “loss” or “diminution” of value of the estate and

(b) the debtor does not have a “reasonable likelihood of rehabilitation.”             11 U.S.C. §

1112(b)(4)(A); see also In re Photo Promotion Assocs., Inc., 47 B.R. 454, 458 (Bankr. S.D.N.Y.

1985); In re Citi-Toledo Partners, 170 B.R. 602, 606 (Bankr. N.D. Ohio 1994) (finding that

accumulation of real estate taxes impaired the value of the estate); In re Midwest Props. of

Shawano, LLC, 442 B.R. 278, 286 (Bankr. D. Del. 2010) (dismissing Chapter 11 case pursuant

to section 1112(b)(4)(A) as being in “the best interests of creditors and the estate”); In re DCNC

v. Carolina I, LLC, 407 B.R. 651, 665 (Bankr. E.D. Pa 2009) (noting that “the inability to

effectuate a plan, by itself, provides cause for dismissal or conversion of a Chapter 11 case”).




36191342.9 3/5/20                                 10
                    Case 17-12481-KBO       Doc 816      Filed 03/05/20   Page 11 of 22




             30.     To demonstrate a continuing loss to or diminution of the estate and absence of a

reasonable likelihood of rehabilitation, a movant must establish: (i) that there has been a

diminution of value of the estate; and (ii) the debtor does not have a “reasonable likelihood of

rehabilitation.” See, e.g., In re Citi-Toledo Partners, 170 B.R. at 606 (citing In re Photo

Promotion Associates, Inc., 47 B.R. at 458). Under this two-fold inquiry, Movants must first

demonstrate that there has been a diminution of value of the Debtors’ estates. See, e.g., In re Citi-

Toledo Partners, 170 B.R. at 606 (finding that accumulation of real estate taxes impaired the

value of the estate). Second, Movants must demonstrate that the Debtors have no “reasonable

likelihood of rehabilitation.” See, e.g., Clarkson v. Cooke Sales And Service Co. (In re Clarkson),

767 F.2d 417, 420 (8th Cir. 1985) (finding dismissal warranted where “the absence of financial

data and certain sources of income for the [debtors] indicate[d] the absence of a reasonable

likelihood of rehabilitation”).

             31.     This case satisfies the two-step inquiry. First, by continuing in bankruptcy, the

Debtors continue to incur additional administrative expenses (primarily professional fees and

U.S. Trustee quarterly fees) beyond their ability to pay. Second, the Debtors have liquidated

substantially all of their assets in connection with the Going Concern Sale and no longer conduct

business. There are no further assets to distribute and a plan of liquidation would merely be a

costly way to distribute the GUC Carve-Out. If forced to draft and seek confirmation of a plan

of liquidation, the Debtors’ estates would likely end up administratively insolvent—or at least

the GUC Carve-Out would be so depleted that unsecured creditors would receive limited benefit

from a distribution. The Debtors’ estates therefore continue to diminish in value and the Debtors

have no reasonable likelihood of rehabilitation.           Accordingly, cause exists to dismiss the

Debtors’ cases pursuant to section 1112(b)(4) of the Bankruptcy Code.




36191342.9 3/5/20                                   11
                    Case 17-12481-KBO        Doc 816       Filed 03/05/20   Page 12 of 22




             32.     Once a court determines that cause exists to dismiss a debtor’s chapter 11 case,

the court must then evaluate whether dismissal is in the best interests of creditors and the estate.

See, e.g., Rollex Corp. v. Associated Materials, Inc. (In re Superior Siding & Window, Inc.), 14

F.3d 240, 242 (4th Cir. 1994) (“Once ‘cause’ is established, a court is required to consider this

second question of whether to dismiss or convert.”). A dismissal of a chapter 11 bankruptcy case

meets the “best interests of creditors” test where a debtor has nothing to reorganize and the

debtor’s assets are fixed and liquidated. See Camden Ordinance Mfg. Co. of Ark., Inc. v. U.S. Tr.

(In re Camden Ordnance Mfg. Co. of Ark., Inc.), 245 B.R. 794, 799 (E.D. Pa. 2000) (noting

reorganization to salvage a business which ceased business was unfeasible); Royal Tr. Bank,

N.A. v. Brogdon Inv. Co. (In re Brogdon Inv. Co.), 22 B.R. 546, 549 (Bankr. N.D. Ga. 1982)

(dismissing chapter 11 proceeding in part where there was “simply nothing to reorganize” and no

reason to continue the reorganization). As set forth above, after the Going Concern Sale, the

Debtors have no assets left to reorganize.

             33.     In addition, courts have found that dismissal is in the “best interests of creditors”

where an interested party, other than the debtor, supports dismissal. See Camden Ordinance, 245

B.R. at 798; In re Mazzocone, 183 B.R. 402, 414 (Bankr. ED. Pa. 1995), aff’d, 200 B.R. 568

(E.D. Pa. 1996) (noting factors weighed more heavily in favor of dismissal of chapter 11 case

rather than conversion to chapter 7 where debtor and U.S. Trustee both favored dismissal). Here,

the Debtors, the Committee, and the Debtors’ secured lenders all support the proposed dismissal.

             34.     Cause also exists to dismiss the Chapter 11 Cases pursuant to section 305(a) of

the Bankruptcy Code, which provides that the “court, after notice and a hearing, may dismiss a

case under this title , at any time if—(1) the interests of creditors and the debtor would be better

served by such dismissal . . . .” 11 U.S.C. § 305. For the reasons set forth herein, dismissal is in




36191342.9 3/5/20                                     12
                    Case 17-12481-KBO        Doc 816       Filed 03/05/20   Page 13 of 22




the best interests of creditors and therefore appropriate under section 305 of the Bankruptcy

Code. There is no longer a business to reorganize or assets to distribute, and thus no reason (or

funds available) to pursue a plan of reorganization or liquidation.               Moreover, under the

circumstances, conversion to chapter 7 would impose additional administrative costs with no

corresponding benefit to the Debtors’ creditors or their estates.

             35.     In light of these factors, ample cause exists for, and the interests of the Debtors’

creditors would be best served by, dismissal of the Debtors’ Chapter 11 Cases. As set forth

above, the Debtors have sold substantially all of their assets pursuant to the Going Concern Sale.

There are no proceeds of sale left, or other assets remaining, to distribute to creditors other than

for payment of allowed professional fees, fees to the U.S. Trustee, and the GUC Carve-Out. A

plan would only result in increased administrative expenses, without any ability to pay such

expenses without looking to the GUC Carve-Out. Additionally, conversion to chapter 7 would

impose additional administrative costs with no corresponding benefit to creditors or the estates.

Accordingly, dismissal is the best means to conclude these Chapter 11 Cases.

B.           The Court Should Authorize the Debtors to Abandon and Destroy the Books and
             Records

             36.     Section 554(a) of the Bankruptcy Code provides that “[a]fter notice and a hearing,

[a debtor] may abandon any property of the estate that is burdensome to the estate or that is of

inconsequential value and benefit to the estate.” 11 U.S.C. § 554(a). Additionally, Section

105(a) of the Bankruptcy Code provides, in pertinent part, that “[t]he court may issue any order,

process, or judgment that is necessary or appropriate to carry out the provisions of [the

Bankruptcy Code].” Id. at § 105(a). Bankruptcy Rule 6007, meanwhile, provides that a debtor

may abandon property of the estate by giving notice of the proposed abandonment to various

parties, and allowing those parties to file an objection. As one bankruptcy court has noted, “if a



36191342.9 3/5/20                                     13
                    Case 17-12481-KBO       Doc 816      Filed 03/05/20   Page 14 of 22




trustee feels an asset is of inconsequential value and benefit to the estate or that it is ‘burdensome

to the estate,’ [she] may abandon it.” Reich v. Burke (In re Reich), 54 B.R. 995, 1003-04 (Bankr.

E.D. Mich. 1985).

             37.     The Movants request, through entry of the Final Dismissal Order, that the Court,

pursuant to sections 105(a) and 554(a) of the Bankruptcy Code and Bankruptcy Rule 6007,

authorize, but not direct, the Debtors to abandon and destroy the Books and Records. As

previously discussed, the Debtors have sold substantially all of their assets through the Going

Concern Sale, no longer have an operating business and have largely wound up their affairs. The

Books and Records are of no value to the Debtors after dismissal of the Chapter 11 Cases, and

the Debtors’ estate should not be forced to incur the costs necessarily associated with

maintaining and storing the Books and Records.

             38.     The Movants further request that Epiq Bankruptcy Solutions, LLC (“Epiq”) be

released from its responsibilities as the Debtors’ claim agent, provided, however, that Epiq

complies with Local Rule 2002-1(f)(xii) by forwarding to the Clerk of Court an electronic

version of all imaged claims, uploading the creditor mailing list via CM/ECF, and docketing a

final claims register.

             39.     Accordingly, the Movants submit that the relief requested herein with respect to

the Books and Records is necessary, prudent, and in the best interests of the Debtors’ estates and

creditors, and should therefore be granted.

C.           Binding Effect of Prior Stipulations, Settlements, Rulings, Orders, and Judgments

             40.     The Movants request that all orders of this Court entered in the Chapter 11 Cases

remain in full force and effect and survive the dismissal of the Chapter 11 Cases. Although

section 349 of the Bankruptcy Code contemplates that dismissal will typically reinstate the




36191342.9 3/5/20                                   14
                      Case 17-12481-KBO        Doc 816      Filed 03/05/20   Page 15 of 22




pre-petition state of affairs by revesting property in the debtor and vacating orders and judgments

of the bankruptcy court, a bankruptcy judge may “for cause, orde[r] otherwise.” 11 U.S.C. §

349(b). “[T]his provision appears to be designed to give courts the flexibility to ‘make the

appropriate order to protect rights acquired in reliance on the bankruptcy case.’” Jevic, 137 S.Ct.

at 984.             Courts in this jurisdiction have regularly maintained the enforceability of orders,

including those approving releases and settlements, after a dismissal, notwithstanding section

349 of the Bankruptcy Code. See, e.g., In re Sunco Liquidation, Inc., No. 17-10561 (KG)

(Bankr. D. Del. Nov. 6, 2017) [D.I. 865] (giving continued effect to orders entered throughout

the pendency of the chapter 11 cases); In re Old Towing Co., Case No. 17-10249 (LSS) (Bankr.

D. Del. May 30, 2017) [D.I. 381] (giving continued effect to 363 sale order and any releases,

injunctions and successor liability provisions provided for in such sale); In re TAH Windown,

Inc., Case No. 16-11599 (MFW) (Bankr. D. Del. Jan. 13, 2017) [D.I. 408] (giving orders,

releases, and injunctions continuing effect).

             41.        The Movants submit that cause exists to allow all stipulations, settlements,

rulings, orders, and judgments entered by the Court during these Chapter 11 Cases to be given

continued effect, notwithstanding the requested dismissal. The Debtors have been in Chapter 11

for over two (2) years and have sought and obtained the Court’s approval of numerous motions

including, most significantly, the Going Concern Sale Motion. Unless the Court orders

otherwise, section 349 of the Bankruptcy Code could unravel the effect of the orders entered in

these cases. By allowing the orders of this Court to remain in full force and effect and survive

dismissal, the Court will preserve the benefits of all parties’ efforts and achievements in the

Chapter 11 Cases, as it is the results obtained during the Chapter 11 Cases that now justify

dismissal.




36191342.9 3/5/20                                      15
                    Case 17-12481-KBO            Doc 816         Filed 03/05/20       Page 16 of 22




D.           The Limited Exculpation Provisions in the Final Dismissal Order are Appropriate
             and Should be Approved

             42.     Limited exculpation, such as that sought in the Final Dismissal Order, is

appropriate when it is fair, necessary, and supported by the factual record. See, e.g., Gillman v.

Cont’l Airlines (In re Cont’l Airlines), 203 F.3d 203, 214 (3d Cir. 2000). The Debtors, their

officers, directors, and employees, and other estate professionals and fiduciaries (including the

Committee) worked diligently throughout the Chapter 11 Cases to consummate the successful

sale of the Debtors’ remaining assets as a going concern and to otherwise wind down the

Debtors’ businesses for the benefit of creditors. As a result of their efforts, the Exculpated

Parties3 have preserved numerous jobs, maintained valuable business and customer relationships,

and provided the Debtors the ability to wind down their estates in an orderly and efficient

manner.

             43.     In consideration of those efforts, the Movants seek limited exculpation for the

Exculpated Parties, who are limited to include only estate fiduciaries. Washington Mut., 442

B.R. at 350. The exculpation provisions will protect the Exculpated Parties from liability for any

actions taken (or omitted to be taken) in good faith, relating to or in connection with the Chapter

11 Cases, including the formulation and implementation of this Motion and the Initial Order and

Final Dismissal Order. Further, the proposed exculpation provisions expressly exclude liability

for any acts of gross negligence or willful misconduct on the part of the Exculpated Parties.

Courts in this jurisdiction have approved similar relief in the past. See, e.g., In re Real Industry,

Inc., No. 17-12464 (KJC) (Bankr. D. Del. Dec. 18, 2018) [Docket No. 1165] (approving

dismissal order containing broad exculpation clause); In re Golfsmith Int’l Holdings, Inc., No.

3
             The “Exculpated Parties” are the Debtors, the Committee, and their respective present or former directors,
             officers, employees, partners, attorneys, consultants, advisors, and agents, as well as the Committee’s
             members (in each case, acting in such capacities during the Chapter 11 Cases). See Final Dismissal Order, ¶
             9; see also In re Washington Mut. Inc., 442 B.R. 314, 322, 350 (Bankr. D. Del. 2011).


36191342.9 3/5/20                                           16
                    Case 17-12481-KBO     Doc 816      Filed 03/05/20    Page 17 of 22




16-12033 (LSS) (Bankr. D. Del. Jan. 24, 2018) [Docket No. 1246] (approving form of dismissal

order containing broad releases); In re City Sports, Inc., No. 15-12054 (KG) (Bankr. D. Del.

Mar. 4, 2016) [Docket No. 647] (approving broad exculpation provision); In re Coach Am Grp.

Holdings Corp., No. 12-10010 (KG) (Bankr. D. Del. May 31, 2013) [Docket No. 1568]

(approving consensual releases and broad exculpation). Further, all creditors and other parties in

interest in the Chapter 11 Cases will be provided with notice of, and an opportunity to object to,

the proposed exculpation. Movants therefore submit that the limited exculpation provisions in

the Final Dismissal Order are appropriate and request that they be approved.

E.           The Debtors should be Dissolved

             44.     Because the Debtors have sold substantially all of their assets and ceased

operations, the Court is empowered by sections 105 and 363(b)(1) of the Bankruptcy Code and

its general equitable powers to dissolve the Debtors. See, e.g., Weir v. JMACK, Inc., No. 3263-

CC, 2008 WL 4379592 at *2 (Del. Ch., decided Sept. 23, 2008) (granting dissolution of

corporation by court order and stating that “[i]t is well settled that this Court, as a court of equity,

has the power to order the dissolution” of a corporation). Further, courts in this jurisdiction have

previously approved the dissolution of debtors by court order in connection with the dismissal of

a chapter 11 case. See, e.g., In re Real Industry, Inc., No. 17-12464 (KJC) (Bankr. D. Del. Dec.

18, 2018) [Docket No. 1165]; In re DirectBuy Holdings, Inc., No. 16-12435 (CSS) (Bankr. D.

Del. Nov. 1, 2017) [Docket No. 776]; In re Sunco Liquidation, Inc., No. 17-10561 (KG) (Bankr.

D. Del. Nov. 6, 2017) [Docket No. 865]; In re TAH Windown, Inc., No. 16-11599 (MFW)

(Bankr. D. Del. Jan. 13, 2017) [Docket No. 408]; In re Hospitality Liquidation I, LLC, No. 13-

12740 (BLS) (Bankr. D. Del. Jan. 5, 2015) [Docket No. 447].




36191342.9 3/5/20                                 17
                    Case 17-12481-KBO        Doc 816       Filed 03/05/20   Page 18 of 22




             45.     Here, Movants respectfully submit that it is appropriate and necessary for the

Court to dissolve the Debtors. The Debtors have no further business to conduct or other purpose

to remain active corporate entities in their jurisdictions, and absent their prompt dissolution, the

Debtors may incur additional taxes and statutory fees owing to their continued corporate

existence. Accordingly, it is in the best interests of the Debtors’ estates and creditors for the

Debtors to dissolve as soon as practicable. Upon the entry of the Final Dismissal Order, counsel

to the Debtors will be authorized to file all documents necessary to evidence such dissolution in

accordance with the applicable law of each Debtor’s respective jurisdiction of formation.

F.           Final Fee Applications

             46.     In connection with winding down the Debtors’ estates and the dismissal of the

Chapter 11 Cases, the Debtors seek the Court’s approval of procedures for the final payment of

professional fees and expenses incurred by professionals on behalf of the Debtors’ estates

throughout the Chapter 11 Cases.

             47.     Specifically, Movants request that the Initial Order includes a provision

scheduling a final omnibus fee hearing (the “Final Fee Hearing”). Movants further request that

the Court require all professionals retained in these Chapter 11 Cases to file final requests for

allowance and payment of all fees and expenses incurred during the Chapter 11 Cases (the

“Final Fee Applications”) not later than twenty-one (21) days prior to the Final Fee Hearing and

that any objections to the Final Fee Applications be filed and served on counsel for the

Committee and the Debtors and the applicable fee applicant by 4:00 p.m. (prevailing Eastern

Time) seven (7) days prior to the Final Fee Hearing.

             48.     Courts in this jurisdiction have granted similar relief in the context of dismissals.

See, e.g., In re The Wet Seal, LLC, No. 17-10229 (CSS) (Bankr. D. Del. Mar. 19, 2019) [Docket




36191342.9 3/5/20                                     18
                    Case 17-12481-KBO           Doc 816         Filed 03/05/20      Page 19 of 22




No. 1006]; In re The Bon-Ton Stores, Inc., No. 18-10248 (MFW) (Bankr. D. Del. Feb. 1, 2019)

[Docket No. 1436]; In re Quantum Foods, LLC, No. 14-10318 (KJC) (Bankr. D. Del. Apr. 6,

2018) [Docket No. 1798]; In re Sunco Liquidation, Inc., No. 17-10561 (KG) (Bankr. D. Del.

Aug. 18, 2017) [Docket No. 706].

G.           Procedures for Distribution of the GUC Carve-Out

             49.     Movants request that the Initial Order includes a provision for the Debtors, in

consultation with the Committee, to distribute the GUC Carve-Out pursuant to the following

procedures (the “Distribution Procedures”):

                     a. Subject to subparagraph (b) below, the Debtors shall make payments to
                        holders of allowed unsecured claims, in U.S. dollars4 by check or wire-
                        transfer in the amounts set forth on Exhibit 1 to the Initial Order (each, a
                        “Distribution” and collectively, the “Distributions”).

                     b. The Debtors shall not make Distributions from the GUC Carve-Out to the
                        following claim holders, notwithstanding that such entities might otherwise be
                        considered to be a holder of an allowed unsecured claim: (i) insiders of the
                        Debtors who were expressly excluded from receiving distributions from the
                        GUC Carve-Out pursuant to the Stipulation (“Insiders”); (ii) any holder of an
                        unsecured claim to the extent that such Distribution would be less than $10.00
                        (the “De Minimis Claimants”); and (iii) any other party that failed to file a
                        claim by the Claims Bar Date or that is not listed on Exhibit 1 to the Initial
                        Order and was provided notice of this Motion, provided that all such Insiders
                        and De Minimis Claimants shall receive notice of this Motion which expressly
                        states that Insiders and De Minimis Claimants will not receive a Distribution
                        and provides the threshold claim amount necessary to receive a Distribution
                        (i.e., a claim amount for which the resulting Distribution will exceed $10.00).
                        A list of all De Minimis Claims is separately set forth on Exhibit 2 to the
                        Initial Order.

                     c. Subject to the provisions of Bankruptcy Rule 2002(g), and except as otherwise
                        provided herein, distributions and deliveries of the Distributions shall be made
                        at the address of each such claimant as set forth on the schedules filed with the


4
             Certain claimants, designated with an asterisk on Exhibit 1 to the Initial Order, filed proofs of claim
             asserting amounts due in Canadian dollars. For such claimants, the Movants have determined the amount
             of such claim, and the corresponding distribution amount, in U.S. dollars by application of the exchange
             rate of 0.78050, the historical exchange rate in effect on the Petition Date. See https://www.exchange-
             rates.org/Rate/CAD/USD/11-20-2017 (last accessed February 19, 2020).



36191342.9 3/5/20                                          19
                    Case 17-12481-KBO        Doc 816        Filed 03/05/20    Page 20 of 22




                        Bankruptcy Court, unless superseded by the address set forth on timely filed
                        proof(s) of claim.

                     d. If any Distribution to any claimant is returned to the Debtors as undeliverable
                        or is otherwise not negotiated within ninety days after the Distributions are
                        sent, such Distributions shall be deemed forfeited (the “Forfeited
                        Distributions”) and such claimant shall not be entitled to any recovery on
                        account of its claim. Nothing contained in the Proposed Orders shall require
                        the Debtors to attempt to locate any claimant entitled to Distributions or that
                        forfeits its right to Distributions.

                     e. If, after ninety days, the aggregate amount of Forfeited Distributions is greater
                        than $50,000.00, the Forfeited Distributions shall be re-distributed (other than
                        to those that forfeited their rights to a Distribution) on a pro rata basis, subject
                        to the limitations of subparagraph (b) above.

                     f. In the event that the aggregate amount of the Forfeited Distributions is less
                        than $50,000.00 and the Debtors (in consultation with the Committee)
                        determine, in their reasonable business judgment, that a further Distribution
                        would not make economic sense, the remainder of the Forfeited Distributions
                        may be donated to the American Bankruptcy Institute Endowment Fund, a
                        not-for-profit, non-religious organization dedicated to, among other things,
                        promoting research and scholarship in the area of insolvency.

                     g. The Debtors may require that certain claimants provide tax reporting
                        information prior to making Distributions under subparagraph (a) above, in
                        order to comply with applicable law. Movants reserve the right to object to
                        any claim to the extent requested tax reporting information is not provided.
                        The amounts otherwise distributable to any such disallowed claims shall be
                        considered Forfeited Distributions and distributed in accordance with these
                        Distribution Procedures.

             50.     In light of the circumstances of these Chapter 11 Cases, Movants submit that the

proposed Distribution Procedures are necessary and appropriate and should be approved in the

Initial Order.

             51.     Further, Movants request that the Notice be approved by the Court in the

Procedures Order. The Movants will serve the Notice to all creditors of the Debtors, including

without limitation Insiders and holders of De Minimis Claims. The Notice adequately informs

all creditors: (a) that Exhibit 1 to the Initial Order contains the proposed distribution amounts

that each creditor may be entitled to; (b) that holders of De Minimis Claims will not receive a


36191342.9 3/5/20                                      20
                    Case 17-12481-KBO       Doc 816       Filed 03/05/20   Page 21 of 22




Distribution and identifying the threshold claim amount necessary to receive a Distribution and

that Exhibit 2 to the Initial Order specifically identifies each holder of a De Minimis Claim that

will not receive a Distribution; (c) that a free copy of the Motion and the Proposed Dismissal

Orders may be obtained through the Debtors’ claims agent’s website or by contacting counsel for

the Movants; and (d) that if the Court approves the Initial Order, the Debtors will make the

Distributions without further notice or hearing. Movants submit that the form of Notice provides

as much or more information as that approved by this Court in similar dismissals, and as such is

adequate and reasonable under the circumstances and should be approved.

H.              Certification and Request for Entry of Dismissal Order

             52.     As soon as reasonably practicable following the payment of professional fees,

U.S. Trustee fees, and the Distributions, Movants request that the Court dismiss the Chapter 11

Cases upon the filing of a certification (a “Certification”) of counsel (with the consent of each

of the Debtors, the Committee, and the U.S. Trustee) and requesting entry of the Final Dismissal

Order substantially in the form attached hereto as Exhibit C. The Certification will verify that:

(i) all quarterly fees payable to the U.S. Trustee have been paid in full; (ii) fees and expenses of

the professionals in the Chapter 11 Cases have been approved on a final basis and paid; and (iii)

the GUC Carve-Out has been distributed in accordance with the provisions of the Initial Order.

                                                 NOTICE

             53.     Notice of this Motion has been provided to (i) the U.S. Trustee; (ii) the Office of

the United States Attorney for the District of Delaware; (iii) the Internal Revenue Service; (iv)

counsel to the Debtors’ prepetition and postpetition lenders; (v) all parties requesting notice

pursuant to Bankruptcy Rule 2002; and (vi) all creditors listed in Exhibit 1 and Exhibit 2 of the




36191342.9 3/5/20                                    21
                    Case 17-12481-KBO       Doc 816       Filed 03/05/20   Page 22 of 22




Initial Order.        In light of the nature of the relief requested herein, the Movants submit that no

other or further notice is necessary.

                                              CONCLUSION

             WHEREFORE, the Movants respectfully request that the Court enter the Procedures

Order and the Proposed Dismissal Orders as set forth herein, and grant such other and further

relief as the Court deems just and proper under the circumstances.


Dated: March 5, 2020
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36191342.9 3/5/20                                    22
